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                                              Crosby S. Connolly, Esq. (SBN: 286650)
                                          1
                                              crosby@westcoastlitigation.com
                                          2   Joshua B. Swigart, Esq. (SBN: 225557)
                                              josh@westcoastlitigation.com
                                          3
                                              HYDE & SWIGART
                                          4   2221 Camino Del Rio South, Suite 101
                                              San Diego, CA 92108
                                          5
                                              Telephone: (619) 233-7770
                                          6   Facsimile: (619) 297-1022
                                          7
                                              Attorneys for the Plaintiff
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                                         11                        UNITED STATES DISTRICT COURT
                                         12                    NORTHERN DISTRICT OF CALIFORNIA
HYDE & SWIGART
                 San Diego, California




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                                         14        JITENDRA KUMAR,                                     Case Number: 4:14-CV-04144-KAW
                                         15
                                                                        Plaintiff,
                                         16        v.                                                  NOTICE OF SETTLEMENT
                                         17
                                                   GENERAL REVENUE
                                         18        CORPORATION,
                                         19
                                                                        Defendants,
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                                              Notice of Settlement                            - 1 of 2 -                             14CV04144-KAW
                                                     Case 4:14-cv-04144-KAW Document 7 Filed 11/24/14 Page 2 of 2



                                          1          NOTICE IS HEREBY GIVEN that this case has been settled in its entirety.
                                          2   The Parties anticipate filing a Joint Motion for dismissal of this action in its entirety
                                          3   with prejudice within 60 days. Plaintiff requests that all pending dates and filing
                                          4   requirements be vacated and that the Court set a deadline on or after January 23,
                                          5   2015 for filing a joint dismissal.
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                                          8
                                          9   Respectfully submitted,
                                         10
                                              Date: November 24, 2014                                       HYDE & SWIGART
                                         11
                                         12
HYDE & SWIGART




                                                                                                       By: s/ Crosby S. Connolly
                 San Diego, California




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                                                                                                          Crosby S. Connolly
                                         14                                                               Attorneys for Plaintiff
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